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     Federal Defender
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     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    SURJIT SINGH RAJASASI
7
8                                   IN THE UNITED STATES DISTRICT COURT
9                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   NO. 1:06-cr-00116 OWW
                                                     )
12                    Plaintiff,                     )   STIPULATION TO CONTINUE STATUS
                                                     )   CONFERENCE HEARING DATE AND
13         v.                                        )   [PROPOSED] ORDER THEREON
                                                     )
14   SURJIT SINGH RAJASASI, Et al.,                  )
                                                     )   Date:    October 17, 2006
15                    Defendants.                    )   Time:    9:00 A.M.
                                                     )   Judge:   Hon. Oliver W. Wanger
16                                                   )
17         IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, that the status conference hearing in the above-captioned matter now set for October 3,
19   2006, may be continued to October 17, 2006, at the hour of 9:00 a.m., in Courtroom Three of the
20   above-entitled court.
21         The continuance is at the request of defense counsel to allow for additional time to investigate the
22   case and to allow the parties additional time for plea negotiation before further hearing.
23   ///
24   ///
25   ///
26   ///
27   ///
28
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1          The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice herein and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and
3    3161(h)(8)(B)(i) and (iv).
4                                                                 McGREGOR W. SCOTT
                                                                  United States Attorney
5
6    DATED: September 28, 2006                                By: /s/ Kevin P. Rooney
                                                                  KEVIN P. ROONEY
7                                                                 Assistant United States Attorney
                                                                  Attorney for Plaintiff
8
9                                                                 DANIEL J. BRODERICK
                                                                  Federal Public Defender
10
11   DATED: September 28, 2006                            By:     /s/ Francine Zepeda
                                                                  FRANCINE ZEPEDA
12                                                                Assistant Federal Defender
                                                                  Attorneys for Defendant
13                                                                Surjit Singh Rajasasi
14
15                                                                DALE BLICKENSTAFF
                                                                  Attorney at Law
16
17   DATED: September 28, 2006                            By:     /s/Dale Blickenstaff
                                                                  DALE BLICKENSTAFF
18                                                                Attorney for Defendant
                                                                  Efraim Huerta
19
20
21                                                   ORDER
22         IT IS SO ORDERED. Time is hereby excluded pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and
23   3161(h)(8)(B)(i) and (iv).
24
           IT IS SO ORDERED.
25
     Dated: October 3, 2006                           /s/ Oliver W. Wanger
26   emm0d6                                      UNITED STATES DISTRICT JUDGE
27
28


     Defendant Rajasasi’s Stipulation to
     Continue Status Conference                           2
